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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

PATRICK ATKINSON,                           )
                                            )
               Plaintiff,                   )
                                            )
v.                                          )
                                            )
MERRICK B. GARLAND, in his official         )            No. 1:21 CV 291
Capacity as Attorney General of the United )
States, and STEVEN M. DETTLEBACH,           )
in his official capacity as Director of the )
Bureau of Alcohol, Tobacco, Firearms        )
and Explosives,                             )
                                            )
               Defendants.                  )

                               AMENDED COMPLAINT

       Plaintiff, PATRICK ATKINSON, by and through LAW FIRM OF DAVID G.

SIGALE, P.C., his attorney, and for his Amended Complaint against the

Defendants, MERRICK B. GARLAND, in his official capacity as Attorney General

of the United States of America, and STEVEN M. DETTLEBACH, in his official

capacity as Director of the Bureau of Alcohol, Tobacco, Firearms and Explosives

(“BATFE”)1, states and alleges as follows:

                                    INTRODUCTION

       Twenty-five years ago, Plaintiff Patrick Atkinson (“Atkinson”) unknowingly

played a small part in a corporate recruiting scam, perpetrated by an employee in


1 In Plaintiff’s originally-filed Complaint, Jeffrey Rosen and Regina Lombardo, as Acting

Attorney General and Deputy Director of BATFE, respectively, were the named
Defendants. Pursuant to F.R. Civ. P. 25(d), the now-named Defendants, as the current
holders of those offices, are substituted herein.
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the recruiting department at a large Illinois company, and was convicted of a felony,

still his only violation of the law. Atkinson paid a fine, received two years probation,

which was ended a year early, with six months of home confinement. Due to the

federal prohibition of felons ever legally possessing firearms in 18 U.S.C. §

922(g)(1), Atkinson has been permanently and unconstitutionally deprived of his

right to armed self-defense under the Second Amendment.

       This action seeks equitable, declaratory, and injunctive relief challenging on

a facial and as-applied basis the application of 18 U.S.C. § 922(g)(1) to Atkinson as a

non-violent and non-dangerous felon, who wishes to avail himself of the Second

Amendment right.

                             JURISDICTION AND VENUE


       1.     This Court has subject matter jurisdiction over this action pursuant to

28 U.S.C. §§ 1331, 1343, 1346, 2201, and 2202.

       2.     Venue lies in this Court pursuant to 28 U.S.C. § 1391(e)(1)(B) and (C),

as a substantial part of the events and omissions giving rise to the claim occurred,

and the Plaintiff resides, in this judicial district.

                                        PARTIES

       3.     Plaintiff, Patrick Atkinson, is a natural person residing in Glen Ellyn,

Illinois. Atkinson is 65 years old. He is married with two grown children. Atkinson

presently intends to obtain an Illinois Firearm Owners Identification Card (“FOID

card”), pursuant to the Illinois Firearm Owners Identification Card Act, 430 ILCS

65/1, et seq, (“FOID Card Act”) so that he may lawfully possess a firearm for self-

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defense within his own home, and other lawful purposes such as range training, but

is prevented from doing so only by Defendants’ active enforcement of

unconstitutional laws complained of in this action.

      4.     Defendant, Merrick B. Garland, is the Attorney General of the United

States of America, and is sued only in his official capacity. As Attorney General,

Garland is responsible for executing and administering laws, customs, practices,

and policies of the United States, and is presently enforcing the laws, customs,

practices and policies complained of in this action.

      5.     Defendant, Steven M. Dettlebach, is the Director of the Bureau of

Alcohol, Tobacco, Firearms and Explosives (“BATFE”), and is sued only in his

official capacity. As Director of BATFE, Dettlebach is responsible for executing and

administering laws, customs, practices, and policies of the United States, and is

presently enforcing the laws, customs, practices and policies complained of in this

action.

                              STATEMENT OF FACTS

Plaintiff's Background

      6.     Patrick Atkinson is 65 years old and thus over the age of 21, is not

under indictment, has never been convicted of a crime of domestic violence, is not a

fugitive from justice, is not an unlawful user of or addicted to any controlled

substance, has not been adjudicated a mental defective or committed to a mental

institution, has not been discharged from the Armed Forces under dishonorable

conditions, has never renounced his citizenship, and has never been the subject of a

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restraining order relating to an intimate partner. He is married with two grown

children.

      7.     On October 16, 1998, Atkinson pleaded guilty to, and was convicted, in

the Northern District of Illinois Case No. 1:98-CR-00730-03, of one count of frauds

and swindles, in violation of 18 U.S.C. § 1341, a Class C felony. The facts

underlying the conviction are as follows:

      8.     In 1998, Atkinson was an Executive Recruiter with his own company,

Waterford Executive Group, which he opened in 1990. One of his clients, his co-

Defendant (Zerba), was in the recruiting department at a large Illinois company

that specialized in consultants and outsourcing. Atkinson would place actuaries and

consultants at the company and receive a consulting fee.

      9.     In or around 1998, Zerba offered Atkinson a moonlighting job, where

Zerba would find professional candidates, and Atkinson would place them with

employers, and they would split the recruiting fee. This happened a couple of times

without incident.

      10.    A few months later, Zerba sent Atkinson the resume of a recruiting

candidate from Virginia. Atkinson tried to place the man in an executive position

but could not. Eventually, Zerba told Atkinson he thought the man would be a good

fit at his own company, and the man was hired. Atkinson believed he would keep

the recruiting fee since the candidate was placed at Zerba’s own company where

Zerba worked as a recruiter. However, Zerba demanded half of the fee and Atkinson

gave it to him.

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       11.    Soon thereafter, Zerba sent Atkinson another candidate for placement

at Zerba’s own company. Atkinson thought it seemed suspicious, and declined.

       12.    Soon after that, Zerba called Atkinson and said that he (Zerba) had

been fired over referrals and that the police were investigating. When U.S. Postal

Inspectors contacted Atkinson, he cooperated fully. Atkinson learned that Zerba

was masterminding the scheme with a number of other recruiters, and that

Atkinson was unknowingly part of a “hub and spoke” operation, where Atkinson

turned out to be just one of multiple spokes.

       13.    For his share of one recruiting fee that totaled $6,000.00, Atkinson was

sued by Zerba’s employer for $150,000.00 for fraud, civil RICO violations, and

conspiracy. Atkinson ultimately settled for $45,000.00, and spent $15,000.00 in

legal fees.

       14.    Atkinson was then charged with mail fraud (frauds and swindles) and

quickly pleaded guilty. On February 24, 1999, Atkinson was sentenced to two years

of probation with six months of home confinement, a fine of $15,000.00, and 200

hours of community service. He completed all his sentencing terms, and his

probation was even terminated a year early, without objection from the

Government, on March 7, 2000.

       15.    Other than the above referenced offense, Atkinson has never been

charged or convicted of any offense which makes him ineligible to possess firearms

under 18 U.S.C. § 922(g), or state law, and but for the above referenced charge, no

federal law would prohibit Atkinson’s possession of firearms.

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      16.    Atkinson acknowledges that his behavior was wrong. While he did not

set out to commit any criminal act, he knows he should have been more suspicious

of the circumstances of the subject transaction, and should have walked away from

a situation that did not feel right and was soon thereafter confirmed to be illegal.

      17.    However, since that time, he owns two companies: Waterford

Executive Group, the aforementioned executive recruiting firm; and Atkinson

Ergonomic Solutions, Inc, which was formed in 2018, and which has created a

device for lifting hotel beds for greater ease and efficiency of both making the beds

and cleaning underneath them. Atkinson has not been convicted of any further

offenses, including any crime of violence or threatened violence.

      18.    Atkinson is a law-abiding citizen, and has been for several decades.

      19.    However, owing to his felony conviction, Atkinson is permanently

prohibited by Defendants from following through with his intent to obtain and

possess a firearm for self-defense and other lawful purposes, based on Defendants’

enforcement of 18 U.S.C. § 922(g)(1).

      20.    Also owing to his felony conviction, Atkinson is unable to obtain an

Illinois FOID card, pursuant to 430 ILCS 65/4(a)(2)(ii) and 65/8(c) and (n), and

65/10(c)(4). Once the federal prohibition is removed, however, the barrier to

Atkinson applying for and ultimately receiving a FOID card will be removed.

      21.    Atkinson refrains from possessing a firearm for self-defense and other

lawful purposes only because he reasonably fears arrest, prosecution, incarceration




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and fine pursuant to 18 U.S.C. § 922(g)(1), and 430 ILCS 65/14(c)(3), should he

possess a firearm.

      22.     Atkinson has a fundamental right to keep and bear arms in the home

for self-defense and for other lawful purposes, and this fundamental right is being

violated facially and as-applied to Atkinson, who committed a non-violent felony 25

years ago.

      23.     Atkinson challenges the Defendants’ ability to categorically prohibit

him - as a non-violent felon - from possessing arms pursuant to 18 U.S.C. §

922(g)(1).

      24.     Additionally, in the alternative, and to the extent it is relevant under

Second Amendment analysis, Atkinson challenges the constitutionality of

categorically prohibiting him from possessing arms while at the same time affording

him no opportunity, no matter the merits, short of a Presidential pardon, for an

individualized assessment to show he is capable of safely and lawfully possessing

arms, and thus restoring his civil rights.

Defendants’ Regulatory Scheme

Federal Law

      25.     Title 18, United States Code § 922(g)(1) prohibits the possession of

firearms by any person convicted of “a crime punishable by imprisonment for a term

exceeding one year.” Violation of this provision is a felony criminal offense

punishable by fine and imprisonment of up to ten years. See 18 U.S.C. § 924(a)(2).




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      26.    Further, Title 18, United States Code § 922(d)(1) prohibits anyone

from transferring firearms or ammunition to anyone whom the transferor has

reason to know was convicted of “a crime punishable by imprisonment for a term

exceeding one year.” Violation of this provision is a felony criminal offense

punishable by fine and imprisonment of up to ten years. See 18 U.S.C. § 924(a)(2).

      27.    All firearms purchasers within the United States who do not possess a

Federal Firearms License, meaning, virtually all ordinary civilian consumers of

firearms, must complete “Form 4473, Firearms Transaction Record Part I –Over-

The-Counter,” administered under Defendants’ authority, in order to purchase a

firearm. 27 C.F.R. § 478.124. Per BATFE revisions effective August, 2023, Question

21(d) on Form 4473 asks:

             Have you ever been convicted in any court, including a military
             court, of a felony, or any other crime for which the judge could
             have imprisoned you for more than one year, even if you
             received a shorter sentence including probation? (boldface in
             original)

      28.    Defendants instruct firearm dealers not to sell firearms to anyone who

answers “yes” to this question. Indeed, Defendants instruct firearm dealers to

refrain from even running a background check on anyone who answers yes to this

question, and simply to deny the transaction on the basis of that answer:

             If a prospective purchaser answered “yes” to any of the questions
             on the ATF Form 4473 (other than questions 9 a. and 9 l. of the
             10/98 edition), you should not contact the NICS because the
             subject is prohibited from purchasing.




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BATF FFL Newsletter, May, 2001, Issue I, at 14, available at

http://www.atf.gov/files/publications/newsletters/ffl/ffl-newsletter-2001-05.pdf (last

visited October 8, 2023).

             If the prospective purchaser answers “yes” to any of the
             questions [regarding eligibility to possess firearms], the licensee
             has reasonable cause to believe that the transferee is prohibited.
             Accordingly, the transfer of a firearm to such a person would be
             in violation of Federal law. This is true regardless of whether
             the licensee received an “proceed” or “denied” response from
             NICS. In fact, there is no reason for the licensee to even contact
             NICS after a person indicates on the Form 4473 that he or she is
             prohibited from receiving firearms. The licensee should simply
             advise the prospective purchaser that the firearm may not be
             transferred.

BATF FFL Newsletter, September 1999, Issue II, at 2, available at

https://www.atf.gov/firearms/docs/newsletter/federal-firearms-licensees-newsletter-

september-1999/download (last visited October 8, 2023).

      29.    BATFE also instructs FFLs, in relevant part, that “[a] person has

given you reason to believe he or she is prohibited, and the transaction must be

stopped, if the person answers:

             “Yes” to a question on the ATF Form 4473 (5300.9) that asks:

                •   “Are you under indictment or information in any court for a
                    felony, or any other crime for which the judge could imprison
                    you for more than one year, or are you a current member of the
                    military who has been charged with violation(s) of the Uniform
                    Code of Military Justice and whose charge(s) have been referred
                    to a general court-martial?”

                •   “Have you ever been convicted in any court, including a military
                    court, of a felony, or any other crime for which the judge could
                    have imprisoned you for more than one year, even if you
                    received a shorter sentence including probation?”

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See https://www.atf.gov/firearms/federal-firearms-licensee-quick-reference-and-best-

practices-guide (last visited October 8, 2023) (boldface in original).

State Law

       30.     Illinois prohibits the possession of firearms by any Illinois resident

without a FOID card. See 430 ILCS 65/2(a)(1).

       31.     Illinois prohibits persons from obtaining a FOID card if the granting of

same would be contrary to federal law, such as, in the instant case, if one has a

felony conviction. See 430 ILCS 65/4(a)(2)(ii), 65/8(c) and (n), 65/10(c)(4).

       32.     Possession of a firearm by an Illinois resident without a FOID card,

and who is not eligible to obtain a FOID card, is a Class C felony. See 430 ILCS

65/14(c)(3).

                                      COUNT I
                          RIGHT TO KEEP AND BEAR ARMS
                              (U.S. CONST. AMEND. II)

       33.     The allegations of paragraphs 1 through 32 are incorporated as though

fully set forth herein.

       34.     The Second Amendment to the United States Constitution provides: “A

wellregulated Militia being necessary to the security of a free State, the right of the

people to keep and bear Arms shall not be infringed.”

       35.     The Second Amendment is fully applicable to the States through the

Fourteenth Amendment. McDonald v. City of Chicago, 561 U.S. 742, 750, 805–06

(2010); id. at 805 (Thomas, J., concurring).




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      36.    Atkinson is one of “the people” who possesses Second Amendment

rights, per District of Columbia v. Heller, 554 U.S. 570, 580-81 (2008). As such,

pursuant to New York State Rifle & Pistol Ass’n, Inc. v. Bruen, 142 S. Ct. 2111

(2022), “the government now bears the burden of proof: it “must affirmatively prove

that its firearms regulation is part of the historical tradition that delimits the outer

bounds of the right to keep and bear arms.” Id. at 2127.

      37.    The Supreme Court has therefore stated the test for addressing Second

Amendment challenges: “When the Second Amendment’s plain text covers an

individual’s conduct, the Constitution presumptively protects that conduct. The

government must then justify its regulation by demonstrating that it is consistent

with the Nation’s historical tradition of firearm regulation.” Bruen, 142 S. Ct. at

2129–30.

      38.    18 U.S.C. § 922(g)(1) regulates Second Amendment conduct. Atkinson’s

request to possess a firearm to defend himself at home, and for other lawful

purposes, squares exactly with the constitutional right as defined by Heller. 554

U.S. at 582 (“[T]he Second Amendment extends, prima facie, to all instruments that

constitute bearable arms, even those that were not in existence at the time of the

founding.”). Therefore “the Second Amendment’s plain text covers [Atkinson’s

desired] conduct,” and “the Constitution presumptively protects that conduct.”

Bruen, 142 S. Ct. at 2126.




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      39.    The prohibition on Atkinson possessing firearms for self-defense, as

imposed by 18 U.S.C. § 922(g)(1), is not consistent with the Nation’s historical

tradition of firearm regulation.

      40.    Defendants’ enforcement of 18 U.S.C. § 922(g)(1) is an infringement

and an impermissible burden on Atkinson’s right to keep and bear arms for self-

defense and other lawful purposes pursuant to the Second Amendment to the

United States Constitution.

      41.    Defendants’ enforcement of 18 U.S.C. § 922(g)(1) forces Atkinson either

to comply with the unconstitutional mandate—thereby being prevented from

exercising his rights under the Second Amendment to the United States

Constitution—or be subjected to criminal prosecution.

      42.    Therefore, as a direct and proximate result of the above infringement

and impermissible burden on Atkinson’s Second Amendment rights, Atkinson has

suffered—and continues to suffer—from an unlawful and irreparable deprivation of

his fundamental constitutional right to keep and bear arms. Defendants have

violated Atkinson’s Second Amendment right to keep and bear arms by precluding

him from being able to purchase or possess firearms for self-defense and other

lawful purposes via the enforcement of 18 U.S.C. § 922(g)(1).




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                                  COUNT II
              INDIVIDUALIZED, AS-APPLIED CLAIM FOR RELIEF -
                      RIGHT TO KEEP AND BEAR ARMS
                          (U.S. CONST. AMEND. II)

       43.    The allegations of paragraphs 1 through 42 are incorporated as though

fully set forth herein.

       44.    Atkinson is a responsible, law-abiding American citizen. He has no

history of violent behavior, or of any other conduct that would suggest he would

pose any more danger by possessing firearms than an average, law-abiding

responsible citizen. Atkinson is unlikely to act in a manner dangerous to public

safety, and his possession of firearms would not be contrary to the public interest.

       45.    On account of Atkinson’s unique personal circumstances, including but

not limited to the nature of his felony conviction, the passage of time since that

conviction, Atkinson’s law-abiding record over the years, his trustworthiness with

firearms and the lack of danger that his possession of firearms would pose, and to

the extent such unique personal circumstances are relevant to the Bruen analysis,

it is an unconstitutional violation of Atkinson’s Second Amendment rights to apply

the firearms prohibition of 18 U.S.C. § 922(g)(1) against Atkinson personally, solely

on account of his 1998 fraud conviction.

       46.    To the extent Atkinson’s unique personal circumstances are relevant

to the Bruen analysis, Atkinson requests a hearing before the Court to demonstrate

that he meets any required fact-based standard required by Bruen and the Second

Amendment.


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                                 PRAYER FOR RELIEF

      WHEREFORE, Plaintiff, PATRICK ATKINSON, respectfully requests that

this Honorable Court enter judgment in his favor and against Defendants, and

declare and order the following forms of relief:

      1.     A declaration that application of 18 U.S.C. § 922(g)(1) against Patrick

             Atkinson, on account of his non-violent 1998 felony conviction under 26

             U.S.C. § 7206(1), violates the Second Amendment to the United States

             Constitution;

      2.     A declaration that 18 U.S.C. § 922(g)(1) cannot be applied against

             Patrick Atkinson on account of his 1998 felony conviction under 26

             U.S.C. § 7206(1);

      3.     An order permanently enjoining Defendants, their officers, agents,

             servants, employees, and all persons in active concert or participation

             with them who receive actual notice of the injunction, from enforcing

             18 U.S.C. § 922(g)(1) against Patrick Atkinson on the basis of his 1998

             felony conviction under 26 U.S.C. § 7206(1);

      4.     Costs of suit;

      5.     Attorney’s Fees and Costs pursuant to 28 U.S.C. § 2412; and




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     6.    Any other further relief as the Court deems just and appropriate.


Dated: October 9, 2023                      /s/ David G. Sigale
                                            Attorney for Plaintiff




David G. Sigale (Atty. ID# 6238103)
LAW FIRM OF DAVID G. SIGALE, P.C.
55 West 22nd Street, Suite 230
Lombard, IL 60148
630.452.4547
dsigale@sigalelaw.com




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